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                                   United States District Court
                               for the Eastern District of Virginia
                                       Alexandria Division

 Thomas Curtin, Donna Curtin, Suzanne A.
 Spikes, Kelley Pinzon, Tom Cranmer, and Carol
 D. Fox,
                                       Plaintiffs,
     v.                                                   Civ. No. 1:20-cv-00546

 Virginia State Board of Elections; Robert H.
 Brink, John O’Bannon, and Jamilah D. Lecruise, Plaintiffs’ Notice of Voluntary Dis-
 in their official capacities as Chairman, Vice-Chair, missal
 and Secretary of the Virginia State Board of Elec-
 tions, respectively; and Christopher E. Piper, in
 his official capacity as Commissioner of the Vir-
 ginia Department Of Elections,
                                           Defendants.


                       Plaintiffs’ Notice of Voluntary Dismissal

    Pursuant to Fed. R. Civ. P. 41(a), Plaintiffs Thomas Curtin, Donna Curtin, Suzanne A.

Spikes, Kelley Pinzon, Tom Cranmer, and Carol D. Fox voluntarily dismiss this case without

prejudice.

    A “plaintiff may dismiss an action without a court order by filing . . . a notice of dismissal

before the opposing party serves either an answer or a motion for summary judgment[.]” Fed. R.

Civ. P. 41(a)(1)(A)(i). Defendants have not filed an answer nor a motion for summary judgment.

Defendants have only filed a dismissal motion (ECF 53), so Plaintiffs are permitted to dismiss

this case without a court order.

    Such dismissal shall be without prejudice (see Fed. R. Civ. P. 41(a)(1)(B)), with each side to

bear its own costs and fees.




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Date: June 16, 2020

Respectfully Submitted,

             /s/

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                                      Certificate of Service

    I hereby certify that the foregoing document was served electronically on this date, June 16,

2020, upon all counsel of record via the United States District Court for the Eastern District of

Virginia, electronic filing system:

             /s/

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